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Kevin D. Neal (Bar No. 011640)
Kenneth N. Ralston (Bar No. 034022)
GALLAGHER & KENNEDY, P.A.
2575 East Camelback Road
Phoenix, Arizona 85016-9225
Telephone: (602) 530-8000
Facsimile: (602) 530-8500
kevin.neal@gknet.com
ken.ralston@gknet.com
Patrick Lanciotti (Pro Hac Vice Pending)
Andrew Croner (Pro Hac Vice Pending)
360 Lexington Avenue, 11th Fl.
New York, New York 10017
(212) 397-1000
PLanciotti@napolilaw.com
acroner@napolilaw.com
Paul J. Napoli (Pro Hac Vice Pending)
1302 Avenida Ponce de Leon
Santurce, Puerto Rico 00907
(833) 271-4502
pnapoli@nsprlaw.com
Attorneys for Plaintiff

             IN THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF ARIZONA


TOWN OF MARANA,                              )
                                             )   Case No. ________________
11555 West Civic Center Drive                )   Judge:_________________
Marana, AZ 85653                             )   Magistrate:_____________
                                             )
                                             )   FTCA COMPLAINT
                    Plaintiff,               )   28 U.S.C. §§ 1346(B)(1) &
                                             )   2674
-vs -                                        )
                                             )   CERCLA COMPLAINT
UNITED STATES OF AMERICA,                    )   42 U.S.C. 9607(a),
c/o Gary Restaino, U.S. Attorney,            )   9613(f)(1), and 9613(g)
U.S. Attorney’s Office for the Dist. Of AZ   )
Two Renaissance Square 40 N. Central         )   RCRA COMPLAINT
Avenue                                       )   42 U.S.C. § 6972(a)(1)(B)
Suite 1800, Phoenix, AZ 85004                )
                                             )
                    Defendant.               )
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                                       COMPLAINT

       Now comes Plaintiff, TOWN OF MARANA (hereinafter “Plaintiff”) to file this

complaint under the Federal Tort Claims Act (“FTCA”), the Resource Conservation and

Recovery    Act   (“RCRA”),      and    the   Comprehensive    Environmental    Response,

Compensation and Liability Act (“CERCLA”), against the United States of America

(hereinafter “the United States”) to recover past, present, and future damages caused by

ongoing contamination of Plaintiff’s drinking water supply with per- and poly- fluoroalkyl-

based substances (“PFAS”) disposed of at, or otherwise released at the Davis-Monthan Air

Force Base (“DMAFB”) addressed at S Wilmot Rd, Tucson, AZ 85708. As of the date of

filing of this Complaint, DMAFB has taken no action to stop or even mitigate the ongoing

migration of its PFAS contamination into Plaintiff’s water supply, nor has agreed to pay

for, reimburse, or otherwise offer to share any of the monetary damages incurred by

Plaintiff in response to the contamination.

                                       THE PARTIES

       1.     Plaintiff is a political subdivision organized under the laws of the State of

Arizona, with its principal place of business located at 11555 West Civic Center Drive,

Marana, AZ 85653.

       2.     Defendant, United States, owns the U.S. Department of Defense and its

armed services branches, including the U.S. Air Force (“USAF”) and DMAFB.

       3.     DMAFB is located at S Wilmot Rd, Tucson, AZ 85708. The base is best

known as the location of the Air Force Materiel Command's 309th Aerospace Maintenance



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and Regeneration Group (309 AMARG), the aircraft boneyard for all excess military and

U.S. government aircraft and aerospace vehicles.

       4.     Under Rule 4(i) of the Federal Rules of Civil procedure, Defendant’s address

for service is the U.S. Attorney’s Office for the District of Arizona, Two Renaissance

Square 40 N. Central Avenue, Suite 1800, Phoenix, AZ 85004.

                               BACKGROUND FACTS

       5.     Plaintiff, the Town of Marana, owns and operates the Marana Water

Department (“MWD”). The MWD operates the public water and wastewater utility,

serving residential, commercial, and industrial customers within and outside the Town

boundaries.

       6.     The MWD has been operating for more than 27 years and currently serves

approximately 28,310 people through over 11,324 service connections. The MWD’s

distribution system is comprised of seven (7) independent water systems utilizing nineteen

(19) production supply wells that cover both the north and south areas of Marana, as well

as a small area outside of the Town Boundary adjacent to Saguaro National Park.

       7.     In mid-December 2016, the Town’s supply wells were tested for per-and

polyfluoroalkyl substances (“PFAS”), including but not limited to perfluorooctanesulfonic

acid (“PFOS”) and perfluorooctanoic acid (“PFOA”). In January 2017, six (6) supply wells

in two systems (Picture Rocks Water System and Airline-Lambert Water System) had

PFOA/PFOS detections in levels over 70 parts per trillion (“ppt”). Additional potable wells

in two (2) other water systems also had PFAS detections.




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      8.     Since 2016 the Town has continued to test for PFAS. In October 2022: La

Puerta Well had detections of 17.5 ppt of PFOA and 47.8 ppt of PFOS; the Saguaro Bloom

Well had detections of 12.7 ppt of PFOA and 55.5 ppt of PFOS; Oshrin Well had detections

of 6.86 ppt of PFOA and 37.1 ppt of PFOS; Pioneer Well had detections of 3.18 ppt of

PFOA and 16.8 ppt of PFOS; Gladden Well had detections of 10.9 ppt of PFOA and 25.6

ppt of PFOA; Sandario Well had detections of 3.95 ppt of PFOA and 14.5 ppt of PFOS;

Continental Reserve 1 Well had detections of 13.8 ppt of PFOA and 33.9 ppt of PFOS; and

Continental Reserve 2 Well had detections of 12.4 ppt of PFOA and 28.5 ppt of PFOS. In

April 2023: La Puerta Well had detections of 19.7 ppt of PFOA and 52.8 ppt of PFOS; the

Saguaro Bloom Well had detections of 12.9 ppt of PFOA and 56.2 ppt of PFOS; Oshrin

Well had detections of 3.31 ppt of PFOA and 19.3 ppt of PFOS; Pioneer Well had

detections of 4.30 ppt of PFOA and 19.5 ppt of PFOS; Marana Park Reservoir EPDS 003

(Gladden and Sandario Wells) had detections of 7.03 PFOA and 19.0 PFOS; Continental

Reserve 1 Well had detections of 14.3 ppt of PFOA and 33.7 ppt of PFOS; and Continental

Reserve 2 Well had detections of 13.3 ppt of PFOA and 30.7 ppt of PFOS.

      9.     The Air Force began using PFAS-based aqueous firefighting foams

(“AFFF”) in 1970 to extinguish fuel-based fires. Beginning in 2009, DMAFB followed the

EPA and issued a short-term provisional health advisory of 400 ppt for PFOA and 200 ppt

for PFOS. The DMAFB now applies the lifetime exposure health advisory of 70 ppt for

both PFOA and PFOS.




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         10.   DMAFB is located at S Wilmot Rd, Tucson, AZ 85708, is operated by the

U.S. Air Force, and has used aqueous firefighting foams (“AFFF”) containing PFAS such

as PFOS and related fluorochemicals that can degrade to PFOA.

         11.   AFFF-containing PFAS were used in training exercises and in emergency

situations at DMAFB, in such a manner that these dangerous chemicals would be released

into the environment. At any given time during its operation, DMAFB housed and used

thousands of gallons of AFFF concentrate. Air Force personnel conducted training

exercises at DMAFB including firefighting and explosion training that used AFFF for

decades.

         12.   Due to these training operations, AFFF was released into the surrounding air,

soil, and groundwater at DMAFB.

         13.   PFOA and PFOS that originated and were released from DMAFB have

contaminated Plaintiff’s water supply.

         14.   On information and belief, for decades, the Department of Defense (“DOD”)

knew firefighting foams with PFAS were dangerous but continued their use. As far back

as the 1970s, studies conducted by the DOD showed that AFFF-containing PFAS was

toxic.

         15.   On information and belief, by the 1980s, animal studies conducted by the

United States Air Force revealed that PFAS chemicals could pose environmental and health

risks.

         16.   In March 2011 the DOD Materials of Emerging Regulatory Interest Team

issued Risk Alert # 03-11 to all military branch environmental coordinators stating, among


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other things, that (a) the discharge of PFAS-containing AFFF was regulated under the

federal Clean Water Act; (b) potential liability for the release of such foam needed to be

weighed against the cost of disposal and resupply with alternative chemicals; (c)

uncontrolled, repeated application of PFAS-containing AFFF at fire training areas could

be expected to contaminate soil and groundwater, and thus such activities needed to be

managed; and (d) containment, treatment, and proper disposal of foam discharges through

the use of lined pits and improved wastewater treatment were recommended.

       17.    On information and belief, PFOA and PFOS that originated and were

released from DMAFB have contaminated Plaintiff’s water supply.

       18.    As a direct and proximate result of Defendant’s acts and omissions,

Plaintiff’s wells have become contaminated with PFAS.

       19.    Plaintiff’s damages, caused by the above contamination, include, but are not

limited to, investigation costs, testing and monitoring costs, costs of planning, design and

installation of water treatment systems, treatment, operating and maintenance costs,

infrastructure modifications, engineering fees and other related costs.

       20.    Defendant, as the responsible party – and not Plaintiff or its customers –

should bear all past, present and future costs of addressing the above contamination.

       21.    Upon information and belief, Defendant is responsible, negligently,

intentionally and/or in some actionable manner, for the events and happenings referred to

herein, and caused and continues to cause injuries and damages legally thereby to Plaintiff,

as alleged, either through Defendant’s own conduct or through the conduct of its agents,




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servants or employees, or due to the ownership, maintenance or control of the

instrumentality causing them injury, or in some other actionable manner.

                              BACKGROUND ON PFAS

       22.    PFAS are man-made manufactured chemical compounds containing fluorine

and carbon. These substances have been used for decades in the manufacture of, among

other things, household and commercial products that resist heat, stains, oil, and water.

These substances are not naturally occurring and must be manufactured.

       23.    PFAS get into the environment from industrial facilities that make or use

PFAS to make other products. They also enter the environment when released from PFAS-

containing consumer products during their use and disposal.

       24.    PFAS can remain in the environment, particularly in water, for many years.

PFAS can move through soil and into groundwater or be carried in air.

       25.    The two most widely studied types of these substances are PFOA and PFOS.

       26.    PFOA and PFOS easily dissolve in water, and thus they are mobile and easily

spread in the environment. PFOA and PFOS also readily contaminate soils and leach from

the soil into groundwater, where they can travel significant distances.

       27.    PFOA and PFOS are characterized by the presence of multiple carbon-

fluorine bonds, which are exceptionally strong and stable. As a result, PFOA and PFOS

are thermally, chemically, and biologically stable. They resist degradation due to light,

water, and biological processes.

       28.    PFOA and PFOS have unique properties that cause them to be: (i) mobile

and persistent, meaning that they readily spread into the environment where they break


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down very slowly; (ii) bioaccumulative and biomagnifying, meaning that they tend to

accumulate in organisms and up the food chain; and (iii) toxic, meaning that they pose

serious health risks to humans and animals, including cancer.

       29.    Bioaccumulation occurs when an organism absorbs a substance at a rate

faster than the rate at which the substance is lost by metabolism and excretion.

Biomagnification occurs when the concentration of a substance in the tissues of organisms

increases as the substance travels up the food chain.

       30.    The chemical structure of PFOA and PFOS makes them resistant to

breakdown or environmental degradation. As a result, they are persistent when released

into the environment. Because they do not biodegrade, PFAS are often referred to as

“forever chemicals.”

       31.    PFOA and PFOS bioaccumulate/biomagnify in numerous ways. First, they

are relatively stable once ingested, so that they bioaccumulate in individual organisms for

significant periods of time. Because of this stability, any newly ingested PFOA and PFOS

will be added to any PFOA and PFOS already present. In humans, PFOA and PFOS remain

in the body for years.

       32.    PFOA and PFOS get into the environment from industrial facilities that make

PFOA and PFOS or use PFOA and PFOS to make other products. It also enters the

environment when released from PFOA- and PFOS-containing consumer products during

their use, storage, and disposal.




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        33.    PFOA and PFOS can remain in the environment, particularly in water, for

many years. PFOA and PFOS can move through soil and into groundwater, or groundwater

or be carried in air.

        34.    Human studies show associations between PFOA and PFOS levels in blood

and an increased risk of several health effects, including effects on the liver, the immune

system, high cholesterol levels, increased risk of high blood pressure, changes in thyroid

hormone, ulcerative colitis (autoimmune disease), pre-eclampsia (a complication of

pregnancy that includes high blood pressure), and kidney and testicular cancer.

        35.    These injuries can arise months or years after exposure to PFOA and/or

PFOS.

        36.    PFOA’s and PFOS’s extreme persistence in the environment and its toxicity,

mobility and bioaccumulation potential, pose potential adverse effects to human health and

the environment.

        37.    Effective July 9, 2024, the United States Environmental Protection Agency

(“EPA”) designated both PFOA and PFOS as “hazardous substances” under CERCLA

because EPA determined that “they may present a substantial danger to the public health

or welfare or the environment when released.” Final Rule, Designation of Perfluorooctanic

Acid (PFOA) and Perfluorooctanesulfonic Acid (PFOS) as CERCLA Hazardous

Substances, 89 Fed Reg. 39124 (May 8, 2024).

        38.    On April 10, 2024, EPA announced enforceable levels for PFOA and PFOS

in drinking water. EPA set maximum containment levels (MCLs) for PFOA and PFOS at

4.0 ppt (also expressed as ng/L).


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    DENIAL OF PLAINTIFF’S ADMINISTRATIVE FTCA DAMAGE CLAIM

       39.    As required under the FTCA, implementing regulations codified at 28 C.F.R.

Part 14, and 32 U.S.C. § 842.79, Plaintiff submitted an administrative FTCA damage claim

and addendum on April 10, 2023, to the DOD on behalf of the U.S. Department of the Air

Force Claims Service at Andrews Air Force Base, MD (Exhibit 1).

       40.    Pursuant to §2675(a) of the FTCA the United States Air Force did not make

a final disposition of the claim within six months after it was filed.

       41.    Therefore, the claim is deemed a final denial for the purposes of the FTCA’s

exhaustion requirement.

                             JURISDICTION AND VENUE

       42.    This Court has subject-matter jurisdiction to adjudicate Defendant’s

violations of state tort law (as set forth in the First, Second and Third Causes of Action) by

virtue of the incorporation of state law in Plaintiff’s federal cause of action created by the

Federal Tort Claims Act, 28 U.S.C. §§ 1331, 1346(b)(1) & 2674.

       43.    This Court also has subject-matter jurisdiction to adjudicate the First,

Second, and Third Causes of Action, as freestanding claims under state law that are subject

to Section 313 of the Clean Water Act of 1972 (as amended), 33 U.S.C. § 1323(a), which

creates federal jurisdiction to adjudicate, and waives Defendant’s sovereign immunity

regarding, state-law requirements pertaining to certain types of water pollution, including

the requirement that damages be paid for injuries proximately caused by a breach of duty

under state tort law.




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        44.     Additionally, Plaintiff brings this civil suit pursuant to: (i) the citizen suit

enforcement provisions of Section 7002 of the Resource Conservation and Recovery Act

(“RCRA”), 42 U.S.C. § 6972(a)(1)(B), and (ii) sections 42 U.S.C. 9607(a), 9613(f)(1),

9613(f)(3)(B), and 9613(g) of the Comprehensive Environmental Response, Compensation

and Liability Act (“CERCLA”).

        45.     Under 28 U.S.C. § 1402(b), venue is proper in this Court because Plaintiff

resides in this judicial district, and because the acts and omissions alleged herein occurred

in this judicial district.

                                FIRST CAUSE OF ACTION
                                Continuing Public Nuisance

        46.     Plaintiff reincorporates the preceding paragraphs above as though fully set

forth herein.

        47.     Plaintiff, its residents, and businesses have the common law right to clean,

safe, potable source of water of their own choosing.

        48.     Plaintiff was supplying what it believed to be a clean, safe, potable source of

water when it was discovered that PFAS contamination originating from DMAFB had

migrated to Plaintiff’s water supply at concentrations exceeding applicable federal and

state drinking water standards and health advisory levels.

        49.     DMAFB knew of the contamination of its groundwater with PFAS and

consciously disregarded a known risk that the contamination had already migrated off-site

and into Plaintiff’s water supply or that such risk was imminent.




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       50.    DMAFB knew, consciously disregarded, or in an exercise of reckless

disregard should have known, that the location of its firefighting training centers and

firefighting training exercises, and specifically the manner in which these activities were

being carried out for decades, created a substantial risk that PFAS-containing AFFFs and

residues would contaminate surface soils and sediments, stormwater runoff, and underlying

groundwater, thus threatening the quality and safety Plaintiff’s drinking water supply.

       51.    DMAFB knew, consciously disregarded, or in an exercise of reckless

disregard should have known, that contamination of Plaintiff’s water supply would pose a

substantial risk of harm to Plaintiff and its water customers.

       52.    The acts and omissions of DMAFB unreasonably and significantly interfered

with, and continue today to unreasonably and significantly interfere with, the common

rights of Plaintiff, its residents, and business, to a safe source of drinking water of their

own choosing, and have caused and continue today to cause, detrimental effects on the

public health, welfare, safety, comfort, and convenience of the residents and businesses,

thus creating a public nuisance.

       53.    DMAFB has knowingly and deliberately failed to remove the PFAS

contamination from the soils and groundwater underneath its property, and has knowingly

and deliberately failed to take any steps to stop the ongoing migration of PFAS in

groundwater from DMAFB to Plaintiff’s water supply, thereby (a) knowingly and

deliberately continuing to unreasonably and significantly interfere with the common rights

of Plaintiff’s residents and businesses to a safe source of drinking water of their own

choosing, and (b) knowingly and deliberately continuing to cause detrimental effects on


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the public health, welfare, safety, comfort, and convenience of the residents and businesses,

thus creating an ongoing public nuisance.

       54.      As a direct and proximate result of DMAFB’s conduct, DMAFB is creating

an ongoing public nuisance, Plaintiff has incurred substantial damages, which were

presented to DMAFB in Plaintiff’s administrative FTCA damage claim but denied in their

entirety.

                             SECOND CAUSE OF ACTION
                                 Continuing Trespass

       55.      Plaintiff reincorporates the preceding paragraphs above as though fully set

forth herein.

       56.      Plaintiff is the owner, operator, and actual possessor of real property and

improvements used for collecting drinking water.

       57.      Upon information and belief, DMAFB knew that PFAS contamination on its

property exceeded applicable federal health advisory levels and recommended remediation

guidelines at numerous locations, and that the contamination migrated through

groundwater and surface water contaminating Plaintiff’s real property used for collecting

drinking water.

       58.      The acts and omissions of DMAFB in causing PFAS contamination of its

own property have caused the contamination to migrate, via surface soils and sediments,

stormwater runoff, and groundwater, contaminating Plaintiff’s real property used for

collecting drinking water, interfering with its property rights, including Plaintiff’s right to

the full use and enjoyment of its water system for treatment and distribution to residents



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and businesses. These acts and omissions created a trespass on Plaintiff’s property and

unlawful interference with Plaintiff’s property rights.

       59.     DMAFB has not removed the contamination from the soils on, and the

groundwater running under, the property, nor has it taken any steps to stop the ongoing

migration of the PFAS contamination on Plaintiff’s property and into its water distribution

system, thus creating an ongoing trespass against Plaintiff’s property rights.

       60.     As a direct and proximate result of DMAFB’s conduct in creating an ongoing

trespass against Plaintiff’s property, in the form of the ongoing PFAS contamination of

Plaintiff’s water system, Plaintiff has incurred substantial damages, which were presented

to DMAFB in Plaintiff’s administrative FTCA damage claim but denied in their entirety.

                             THIRD CAUSE OF ACTION:
                                  Failure to warn

       61.     Plaintiff realleges and reaffirms each and every allegation set forth in all

preceding paragraphs as if fully restated herein.

       62.     Defendants breached their duty to warn Plaintiff of the likelihood of release

of hazardous substances, including but not limited to PFAS and other toxic chemicals, at

and in the vicinity of Defendants’ facilities, and, consequently, in the capture zone of

Plaintiff’s wells.

       63.     Upon learning of the release of hazardous substances, including but not

limited to PFAS and/or products containing PFAS, and other toxic chemicals at their

facilities and/or properties, Defendants owed Plaintiff a duty to timely notify and warn

Plaintiff of the releases.



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       64.      Defendants breached that duty by failing to timely notify and warn Plaintiff

of the releases of hazardous substances, including but not limited to PFAS and other toxic

chemicals, on and under their properties and, consequently, in the capture zone of

Plaintiff’s wells.

       65.      As a result of Defendants’ breaches of their duty to warn Plaintiff, Plaintiff

was forestalled from undertaking effective and immediate remedial measures, and Plaintiff

has expended and/or will be forced to expend significant resources to test, monitor, and

remediate the effects of Defendants’ negligence for many years into the future.

       66.      As a direct and proximate result of Defendants’ above-described failure to

provide warnings, Plaintiff has incurred and will continue to incur the following damages:

             a. Existing contamination of Plaintiff’s wells, which may have been prevented
                or mitigated if timely warnings were given;

             b. Costs of additional testing and monitoring of the groundwater, aquifer system
                and Plaintiff’s production wells for hazardous substances, including but not
                limited to PFAS and other toxic chemicals’ contamination;

             c. Costs of investigations, risk assessment and planning mitigation measures to
                address the contamination by hazardous substances, including but not limited
                to PFAS and other toxic chemicals;

             d. Costs of treatment for hazardous substances, including but not limited to
                PFAS and other toxic chemicals, including design, installation and operation
                of GAC systems to remove PFAS to safe level of non-detect;

             e. Loss of water production capacity;

             f. Diminished consumer confidence in Plaintiff’s water;

             g. Potential cost to design and install replacement wells;

             h. Attorney fees and costs; and

             i. Other compensatory damages.


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       67.      As a direct result of the foregoing, Plaintiff seeks compensatory damages in

a sum to be determined by a jury at the time of trial.

                             FOURTH CAUSE OF ACTION
             Mandatory Injunction Pursuant to 42 U.S.C. § 6972(a)(1)(B) (RCRA)

       68.      Plaintiff reincorporates the preceding paragraphs above as though fully set

forth herein.

       69.      Pursuant to 42 U.S.C. § 6972(a)(1)(B)-

                [A]ny person may commence a civil action on his own behalf . . .
                against any person, including the United States and any other
                governmental instrumentality or agency, to the extent permitted
                by the eleventh amendment to the Constitution, and including any
                past or present generator, past or present transporter, or past or
                present owner or operator of a treatment, storage, or disposal
                facility, who has contributed or who is contributing to the past or
                present handling, storage, treatment, transportation, or disposal of
                any solid or hazardous waste which may present an imminent and
                substantial endangerment to health or the environment.

       42 U.S.C. § 6972(a)(1)(B).

       70.      Pursuant to 42 U.S.C. § 6903(15), Plaintiff is a “person” as referenced in 42

U.S.C. § 6972(a)(1)(B).

       71.      Pursuant to 42 U.S.C. §§ 6903(15) and 6972(a)(1)(B), Defendant is a

“person” as referenced in 42 U.S.C. § 6972(a)(1)(B).

       72.      Pursuant to 42 U.S.C. § 6903(5), PFOA and PFOS are solid wastes and/or

hazardous wastes.

       73.      Defendant has contributed and/or is contributing to the handling, storage,

and/or disposal of solid waste and/or hazardous wastes at and emanating from DMAFB.




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       74.      Defendant’s handling, storage, and/or disposal of AFFF-containing

PFOA/PFOS and/or their precursors within the boundaries of DMAFB may present an

imminent and substantial endangerment to the health of the citizens of the Town and/or the

environment.

       75.      By reason of the foregoing Plaintiff is entitled to an injunction requiring

Defendant to: (i) properly dispose of all AFFF that contains PFOA, PFOS and/or

PFOA/PFOS precursors, (ii) immediately disclose by fact discovery document production

and testimony all locations where DMAFB used AFFF, stored AFFF and washed AFFF

equipment at the DMAFB, and (iii) investigate and remediate, or pay for the investigation

and remediation of, all PFOA/PFOS contamination at and emanating from DMAFB

caused, in whole or in part, by DMAFB’s storage of AFFF, use of AFFF and washing of

AFFF equipment.

                               FIFTH CAUSE OF ACTION
             Recovery of Response Costs Pursuant to 42 U.S.C. § 9607 (CERCLA)

       76.      Plaintiff reincorporates the preceding paragraphs above as though fully set

forth herein.

       77.      Defendant is a “person,” as defined by Section 101(21) of CERCLA, 42

U.S.C. §§ 9601(21), as an individual, firm, corporation, association, partnership,

consortium, joint venture, commercial entity, United States Government, municipality,

commission, political subdivision of a State, or any interstate body.

       78.      Defendant is an “owner” and/or “operator” within the meaning of Section

101(2) of CERCLA, 42 US.C. § 9601(20).



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       79.    The DMAFB is a “facility” within the meaning of Section 101(9) of

CERCLA, 42 U.S.C. § 9601(9).

       80.    Defendant is a responsible party under § 107(a) of CERCLA because: (1)

Defendant is the current operator of DMAFB; (2) Defendant was the operator of DMAFB

at the time AFFF-containing PFOA and/or PFOS was discharged and/or disposed of at

those facilities; and/or (3) Defendant arranged for the disposal of AFFF-containing PFOA

and/or PFOS at DMAFB.

       81.    Both PFOA and PFOS are both designated “hazardous substances” pursuant to

section 102 of CERCLA, 42 U.S.C. § 9602.

       82.    There have been numerous releases and disposal of hazardous substances,

including PFOA and PFOS, at the above facility within the meaning of Sections 101(22),

101(29) and 101(14) of CERCLA, 42 U.S.C. § 9601(14). Further, Defendant’s purchase,

use, storage, transport, and disposal of AFFF is responsible for the PFAS contamination at

and emanating from DMAFB.

       83.    Disposal of hazardous substances at DMAFB resulted in the release of

hazardous substances to the environment (as the term “release” is defined in Section

101(22) of CERCLA, 42 U.S.C. § 9601(22)).

       84.    The hazardous substances released and/or disposed of at Defendant’s facility

have impacted and contaminated the groundwater, including groundwater which supplies

Plaintiff’s drinking water wells.

       85.    Consistent with the National Contingency Plan, Plaintiff has incurred, is

incurring, and will continue to incur necessary response costs to address the release or


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threatened release of hazardous substances at and emanating from DMAFB, as required

under CERCLA, 42 U.S.C. § 9607(a), and as set forth in the rules promulgated by the EPA,

40 CFR Sections 300 et seq.



                                SIXTH CAUSE OF ACTION
                 Response Costs Pursuant to 42 U.S.C. § 9613(f)(1) (CERCLA)

       86.      Plaintiff reincorporates the preceding paragraphs above as though fully set

forth herein.

       87.      Section 113(f)(1) of CERCLA, 42 U.S.C. § 9613(f), provides in pertinent

part that: any person may seek contribution from any other person who is liable or

potentially liable under § 9607(a) of [CERCLA], during or following any civil action under

… § 9607(a) of [CERCLA].

       88.      Defendant is a possible responsible party pursuant to section 107(a) of

CERCLA.

       89.      Disposal of hazardous substances at DMAFB resulted in the release of

hazardous substances to the environment (as the term “release” is defined in Section

101(22) of CERCLA, 42 U.S.C. § 9601(22)).

       90.      Defendant is liable under Section 107(a) of CERCLA, 42 U.S.C. § 9607(a).

       91.      By reason of the foregoing, Plaintiff is entitled to judgment for contribution

and damages incurred to the date of judgment.

                              SEVENTH CAUSE OF ACTION
             Declaratory Judgment Pursuant to 42 U.S.C. §§ 9607(a) and 9613(g)(2)
                                        (CERCLA)



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       92.      Plaintiff reincorporates the preceding paragraphs above as though fully set

forth herein.

       93.      By reason of the foregoing, an actual, substantial and legal controversy now

exists between Plaintiff and Defendant regarding Defendant’s obligation to fund all past

and future costs associated with addressing the contamination at and emanating from

DMAFB as referenced herein.

       94.      To date Plaintiff has spent a total of $10,293,048.80 in PFAS remediation.

       95.      A declaratory judgment will prevent the need for multiple lawsuits as

Plaintiff continues to incur costs of response in connection with DMAFB for which

Defendant should be liable, and will provide a final resolution of the issue between the

parties regarding liability for such costs.

       96.      A declaratory judgment will ensure that Defendant pays its fair share of costs

in connection with addressing the contamination at and emanating from DMAFB, insuring

a proper response to the problem.

       97.      A declaratory judgment will ensure that Plaintiff’s and Defendant’s

allocation of cost associated with addressing the contamination at and emanating from

DMAFB is established, insuring an equitable and efficient response to the problem.

       98.      Public interest will be served in that a declaratory judgment will ensure an

environmentally proper response to the contamination existing at DMAFB.

       99.      Plaintiff will continue to incur additional remedial and response costs,

including but not limited to costs to investigate, test, monitor, design, install, operate and




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maintain treatment systems, and take other measures to address the contamination of its

property and its drinking water supply with 1,4-Dioxane.

       100.   Plaintiff’s future costs will be consistent with the National Contingency Plan,

40 C.F.R. Part 300.

       101.   Plaintiff is entitled to a declaratory judgment under 42 U.S.C. §9613(g)(2).

       102.   Plaintiff is thus entitled to a declaratory judgment that Defendant is legally

responsible for the future response costs in connection with DMAFB.

                                 PRAYER FOR RELIEF

       WHEREFORE, based on the forgoing claims, Plaintiff, TOWN OF MARANA

requests that the Court grants the following relief:


        1.    Award the Town of Marana monetary damages for the continuing trespass

              and continuing public nuisance caused by the contamination of DMAFB, up

              to the maximum dollar amount set forth in the Town of Marana’s

              administrative FTCA damage claim.

        2.    Order DMAFB to reimburse the Town of Marana for its past, present and

              future costs to investigate, evaluate, and measure the contamination that

              continues to migrate into the Town of Marana, including the costs of

              employing outside consultants and testing labs for these tasks, up to the

              maximum dollar amount set forth in the Town of Marana’s FTCA damage

              claim.




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 3.   Order DMAFB to pay for, or agree to reimburse the cost of a treatment

      system to be installed at the Town of Marana’s water treatment plant to

      remove PFAS from the incoming, untreated water, up to the maximum dollar

      amount set forth in the Town of Marana’s administrative damage claim.

 4.   To the extent permissible under the FTCA, award the Town of Marana its

      reasonable attorney fees and legal expenses incurred in evaluating the PFAS

      contamination and prosecuting these FTCA claims, up to the maximum

      dollar amount set forth in the Town of Marana’s administrative FTCA

      damage claim; and,

      Award the Town of Marana such other relief as the Court deems just and

      proper.

Dated: September 20, 2024.

                                 GALLAGHER & KENNEDY, P.A

                                 By: /s/ Kenneth N. Ralston
                                 Kevin D. Neal
                                 Kenneth N. Ralston
                                 2575 East Camelback Road
                                 Phoenix, Arizona 8516-9225
                                 kevin.neal@gknet.com
                                 ken.ralston@gknet.com

                                 NAPOLI SHKOLNIK

                                 By: /s/ Patrick Lanciotti
                                 Patrick Lanciotti (Pro Hac Vice Pending)
                                 360 Lexington Avenue, 11th Fl.
                                 New York, New York 10017
                                 (212) 397-1000
                                 PLanciotti@napolilaw.com



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                                     By: /s/ Paul J. Napoli
                                     Paul J. Napoli (Pro Hac Vice Pending)
                                     1302 Avenida Ponce de Leon
                                     Santurce, Puerto Rico 00907
                                     pnapoli@nsprlaw.com

                                     By: /s/ Andrew W. Croner
                                     Andrew Croner (Pro Hac Vice Pending)
                                     360 Lexington Avenue, 11th Fl.
                                     New York, New York 10017
                                     acroner@napolilaw.com



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